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                                                  No. 16-581
                                              Filed: July 29,2016

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                                                                                             FILED
ANTHONYMONK,
                                                                                            JUL 2 I 2016
        Plaintiff, pro se,                                                                U.S. COURT OF
                                                                                         FEDERAL CI-AIMS



THE UNITED STATES,

        Defendant.


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                                                         ORDER

        On Jrulite 27 , 2016, the court ordered Plaintiff to submit a $400 filing fee or an Application
To Proceed In Forma Pauperis to the court, no later than hrJy 27,2016. Order, ECF No. 5.
Plaintiff did not submit the filing fee or the Application. Plaintiff also did not file a Response to
the Govemment's June 10, 2016 Motion To Dismiss.

       Pursuant to Rule 41(b) ofthe Rules ofthe United States Court ofFederal Claims ("RCFC"),
the court may dismiss Plaintiff s claims on the merits for failure to prosecute. See RCFC 41(b)
("If the plaintiff fails to prosecute or to comply with these rules or a court order, the court may
dismiss on its own motion.. . the action[.]"). Accordingly, the Clerk of Court is directed to
dismiss the May 13,2016 Complaint. The Govemment's June 10,2016 Motion To Dismiss is
denied as moot.

       IT IS SO ORDERED.




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